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UNITED STATES DISTRICT COURT
DASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION
UNITED STATES OF AMERICA, 'é Be ©: :
Plaintiff, Criminal No, 03-80810
v. Honorable Gerald E, Rowen
11 AHMAD MUSA JEBRIL, ta
D2 MUSA ABDALLAH JEBRIL, rv a
Ee “TI
reg 2 moms
ay ‘° ry
MALAKY JEBRIL’S PETITION TO any m= TH
ADUBICATE THE VALIDITY OF - ak
KER INTEREST IN w

4909 ROSALIE, DEARBORN, MICHIGAN

NOW COMES Petitioner, Melaky Jebril, states the following:

1. On January 29, 1995, | received a quit claint deed to 4909 Rosalie, Dearborn, '
Michigan (haceinaftcr the “subject property”),

z My intoredt in the subject property is a9 a tele bolder besed an the faust that the
title is iu my name, Alon, I Hved in the subject property for one year in 1992, | paid ell utilities
in [$92 on this property. 1 have paid taxes on the property and ] have contributed to payments
for the lowu secured by this property.

3, Based on my ownership interest tn che wubjact property, the property cannot be
forfetted to tha government,

4. Pursuant to 21 U.S.C, Ts3H{n X5XA) end (B), | have a legal right, dthe and/or
interes recognized by law that is superior to ihst of the Defeadants at the time the alleged

cotmminciva of the acts ocourred which gave ris to this forfeture and/or I am @ bows fide

 

 

 

 

 
  
 

   

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Dated: April 15, 2095 MmWawcounvor

 

 

 

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Purchaser of the subject property without reason to halieve tint the property was subject to
forfeiture.
. WHEREFORE, Petitioner, Malaky Jebril, seeks to have her ownership interes in the
Subjoot property adjudicated by the Courts and hive the forfeiture action again thin property
dinmissed in ing entiyety.
I dectere, under penuty of pexjry, thatthe facts contabto in this Paion ¢ ta the best of
